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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 THE UNITED STATES OF AMERICA
 ex rel., FOX RX, INC.,                                  Civil Action No.:
                                                         1:12-CIV-00275-DLC
                       Plaintiffs,

                v.

 OMNICARE, INC.,
 NEIGHBORCARE, INC.,
 PHARMERICA CORP., and
 MHA LONG TERM CARE NETWORK,

                       Defendants.




 DECLARATION OF DANIEL S. RUZUMNA IN SUPPORT OF MANAGED HEALTH
          CARE ASSOCIATES LONG TERM CARE NETWORK’S
       MOTION TO DISMISS THE SECOND AMENDED COMPLAINT


       DANIEL S. RUZUMNA hereby declares under penalty of perjury pursuant to 28 U.S.C.

§ 1746 as follows:

       1.      I am a partner of the law firm of Patterson Belknap Webb & Tyler LLP, attorneys

for defendant MHA. I am a member of the bar of the Southern District of New York. I submit

this declaration in support of Managed Health Care Associates Long Term Care Network, Inc.’s

(“MHA LTC”) Motion to Dismiss the Second Amended Complaint. I have knowledge of the

facts stated below based on my personal knowledge and on my review of the materials that are

referenced and submit this declaration to provide the Court with true and correct copies of the

following documents referenced in the accompanying memorandum of law.

       2.      Attached hereto are true and accurate copies of the following documents:




                                                1
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              Exhibit A.   MHA Long Term Care Network, Inc. Participating Provider
                           Agreement with Medic Pharmacy, dated April 5, 2007 (filed under
                           seal);

              Exhibit B.   Participating Pharmacy Services Agreement between MHA Long-
                           Term Care Network, Inc. and Procare RX, Inc., dated July 28,
                           2005 (filed under seal);

              Exhibit C.   ProCare Rx Long-Term Care Pharmacy Provider Agreement, dated
                           July 28, 2005;

              Exhibit D.   Letter from Managed Health Care Associates Long Term Care
                           Network, Inc. to MHA Network Member, dated August 15, 2005
                           (filed under seal).


Dated:    New York, New York
          February 28, 2014

                                                /s/ Daniel S. Ruzumna
                                                 Daniel S. Ruzumna




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